     Case 2:16-cv-06599-SJO-FFM Document 66 Filed 06/14/19 Page 1 of 27 Page ID #:785



 1     Joseph R. Manning, Jr., Esq. (State Bar No. 223381)
 2     Michael J. Manning, Esq. (State Bar No. 286879)
       Tristan P. Jankowski, Esq. (State Bar No. 290301)
 3     Osman M. Taher, Esq. (State Bar No. 272441)
 4     MANNING LAW, APC
       20062 S.W. Birch Street, Suite 200
 5     Newport Beach, CA 92660
 6     Office: (949) 200-8755
       Fax: (866) 843-8308
 7     DisabilityRights@manninglawoffice.com
 8     Attorneys for Plaintiff GUILLERMO ROBLES
 9

10                                 UNITED STATES DISTRICT COURT
11              CENTRAL DISTRICT OF CALIFORNIA-WESTERN DIVISION
12

13                                               Case No. 2:16-cv-06599-SJO-FFM
        GUILLERMO ROBLES, an
14
        individual,                              FIRST AMENDED COMPLAINT FOR
15                                               DAMAGES AND INJUNCTIVE
16                    Plaintiff,                 RELIEF:
17      v.                                        1. VIOLATION OF THE AMERICANS
18                                                   WITH DISABILITIES ACT OF
        DOMINO’S PIZZA LLC, a limited                1990, 42 U.S.C. §12181 et seq.
19
                                                     [DOMINOS.COM]
        liability corporation,
20                                                2. VIOLATION OF THE AMERICANS
                                                     WITH DISABILITIES ACT OF
21
                           Defendant.                1990, 42 U.S.C. §12181 et seq.
22                                                   [DOMINO’S MOBILE APP]
                                                  3. VIOLATION OF THE UNRUH
23
                                                     CIVIL RIGHTS ACT, CALIFORNIA
24                                                   CIVIL CODE § 51 et seq.
                                                     [DOMINOS.COM]
25
                                                  4. VIOLATION OF THE UNRUH
26                                                   CIVIL RIGHTS ACT, CALIFORNIA
                                                     CIVIL CODE § 51 et seq.
27
                                                     [DOMINO’S MOBILE APP]
28
                                                   1
                                        FIRST AMENDED COMPLAINT
     Case 2:16-cv-06599-SJO-FFM Document 66 Filed 06/14/19 Page 2 of 27 Page ID #:786



 1           Plaintiff, Guillermo Robles (“Plaintiff”), alleges the following upon
 2     information and belief based upon investigation of counsel, except as to his own acts,
 3     which he alleges upon personal knowledge:
 4                                       INTRODUCTION
 5           1.     Plaintiff is a blind person who requires screen-reading software to read
 6     website content using his computer and to interact with mobile applications on his
 7     iPhone. Plaintiff uses the terms “blind” or “visually-impaired” to refer to all people
 8     with visual impairments who meet the legal definition of blindness in that they have
 9     a visual acuity with correction of less than or equal to 20 x 200. Some blind people
10     who meet this definition have limited vision. Others have no vision.
11           2.     Plaintiff brings this civil rights action against Defendant Domino’s Pizza
12     LLC, a Michigan limited liability company (“Defendant”) for its failure to design,
13     construct, maintain, and operate its website (hereinafter the “Website” or
14     “Defendant’s Website” which shall refer to Dominos.com, and any other website
15     operated by or controlled by Defendant as well as any third party content which is
16     located on or used in connection with Dominos.com and any other website operated
17     by or controlled by Defendant, for the purposes described herein) to be fully accessible
18     to and independently usable by Plaintiff and other blind or visually-impaired people.
19     Defendant’s denial of full and equal access to its Website, and therefore denial of its
20     products and services offered thereby and in conjunction with its brick-and-mortar
21     locations, is a violation of Plaintiff’s rights under the Americans with Disabilities Act
22     (“ADA”) and California’s Unruh Civil Rights Act (“UCRA”).
23           3.     Plaintiff further brings this civil rights action against Defendant for
24     failing to design, construct, maintain, and operate its mobile application (“Mobile
25     App” or “App”) to be fully accessible to, and independently usable by Plaintiff and
26     other blind or visually-impaired individuals. Defendant’s denial of full and equal
27     access to its Mobile App also denies Plaintiff products and services Defendant offers,
28     which in conjunction with its physical locations is a violation of Plaintiff’s rights
                                                   2
                                      FIRST AMENDED COMPLAINT
     Case 2:16-cv-06599-SJO-FFM Document 66 Filed 06/14/19 Page 3 of 27 Page ID #:787



 1     under the UCRA.
 2           4.     The California Legislature provided a clear and statewide mandate for
 3     the elimination of discrimination against individuals with disabilities when it enacted
 4     the Unruh Civil Rights Act, Cal. Civ. Code § 51, et seq. Discrimination sought to be
 5     eliminated by the Unruh Civil Rights Act (“UCRA”) includes barriers to full
 6     integration, independent living, and equal opportunity for individuals with disabilities,
 7     which then necessarily includes barriers created by websites and other places of public
 8     accommodation that are inaccessible to blind and visually-impaired individuals.
 9           5.     Because Defendant’s Website and Mobile App are not equally,
10     independently, or fully accessible to blind and visually-impaired consumers in
11     violation of the UCRA, Plaintiff seeks a permanent injunction to cause a change in
12     Defendant’s corporate policies, practices, and procedures so that Defendant’s Website
13     and Mobile App will become and remain accessible to blind and visually-impaired
14     consumers.
15                               JURISDICTION AND VENUE
16           6.     This Court has subject-matter jurisdiction of this action pursuant to 28
17     U.S.C. § 1331 and 42 U.S.C. § 128188, as Plaintiff’s claims arise under Title III of
18     the ADA, 42 U.S.C. § 1281, et seq., and 28 U.S.C. § 1332.
19           7.     This court has supplemental jurisdiction over Plaintiff’s non-federal
20     claims pursuant to 28 U.S.C. § 1367, because Plaintiff’s UCRA claims are so related
21     to Plaintiff’s federal ADA claims, they form part of the same case or controversy
22     under Article III of the United States Constitution.
23           8.     This Court has personal jurisdiction over Defendant because it conducts
24     and continues to conduct a substantial and significant amount of business in the State
25     of California, County of Los Angeles, and because Defendant's offending Website and
26     Mobile App are available across California.
27           9.     Venue is proper in the Central District of California pursuant to 28 U.S.C.
28     §1391 because Plaintiff resides in this District, Defendant is subject to personal
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                                      FIRST AMENDED COMPLAINT
     Case 2:16-cv-06599-SJO-FFM Document 66 Filed 06/14/19 Page 4 of 27 Page ID #:788



 1     jurisdiction in this District, and a substantial portion of the conduct complained of
 2     herein occurred in this District.
 3                                           PARTIES
 4           10.    Plaintiff, at all times relevant and as alleged herein, is a resident of
 5     California, County of Los Angeles. Plaintiff is legally blind and cannot use a computer
 6     without the assistance of screen-reading software (otherwise known as a “screen-
 7     reader”). However, Plaintiff is a proficient user of the JAWS screen-reader and uses
 8     it to access the Internet. Plaintiff has visited the Website on separate occasions using
 9     the JAWS screen-reader. During Plaintiff’s separate visits to Defendant’s Website,
10     Plaintiff encountered multiple access barriers which denied Plaintiff full and equal
11     access to the facilities, goods, and services offered to the public and made available
12     to the public on Defendant’s Website. Due to the widespread access barriers Plaintiff
13     encountered on Defendant’s Website, Plaintiff has been deterred, on a regular basis,
14     from accessing the Website.
15           11.    Plaintiff is a tester in this litigation seeking to ensure compliance with
16     federal and state law. See Civil Rights Educ. and Enforcement Center v. Hospitality
17     Props. Trust, 867 F.3d 1093, 1096 (9th Cir. 2017).
18           12.    Plaintiff is also a consumer who wishes to access Defendant’s good and
19     services.
20           13.    Plaintiff is being deterred from patronizing the Defendant’s Website and
21     brick-and-mortar locations on particular occasions.
22           14.    Plaintiff has also attempted several times to navigate Defendant’s Mobile
23     App with an iPhone. However, on each occasion Plaintiff has been denied the equal,
24     full use, and enjoyment of the facilities, goods, and services offered by Defendant as
25     a result of accessibility barriers on its Mobile App.
26           15.    If informed that the Website has been made accessible within the
27     meaning of the UCRA and the ADA, Plaintiff will return to the Website and Mobile
28     App to test its accessibility within 45 days to test such a claim of compliance with
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                                       FIRST AMENDED COMPLAINT
     Case 2:16-cv-06599-SJO-FFM Document 66 Filed 06/14/19 Page 5 of 27 Page ID #:789



 1     the law.
 2             16.   Plaintiff is informed and believes, and thereon alleges Defendant is a
 3     Michigan limited liability company and has its principal place of business in Ann
 4     Arbor, Michigan. Defendant is registered to do business in the State of California and
 5     has been doing business in the State of California, including the Central District of
 6     California. Defendant operates brick-and-mortar locations in Los Angeles County,
 7     California.   Defendant’s brick-and-mortar locations constitute places of public
 8     accommodation. Both Defendant’s Website and Mobile App provide consumers with
 9     access to an array of goods, services, and information related to Defendant’s brick-
10     and-mortar locations including menu item and sale information, coupons and specials,
11     rewards accounts, online ordering, and order tracking, as well as access to various
12     other goods, services, and privileges Defendant offers.
13          VISUALLY-IMPAIRED PERSONS’ ACCESS TO THE INTERNET
14             17.   The Internet has become a significant source of information, a portal, and
15     a tool for conducting business, doing everyday activities such as shopping, learning,
16     banking, researching, as well as many other activities for sighted, blind, and visually-
17     impaired persons alike. As an essential tool for many Americans, when accessible, the
18     Internet provides individuals with disabilities great independence. Blind persons are
19     able to access websites using keyboards in conjunction with screen access software
20     that vocalizes the visual information found on a computer screen. This technology is
21     known as screen-reading software.        Except for legally blind individuals whose
22     residual vision allows them to use magnification, screen-reading software is currently
23     the only method a blind person can fully and independently access the internet.
24             18.   Blind and visually-impaired users of Windows operating system-enabled
25     computers and devices have several screen reading software programs available to
26     them.
27             19.   Job Access With Speech, otherwise known as “JAWS,” is currently the
28     most popular, separately purchased screen-reading software program available for
                                                   5
                                       FIRST AMENDED COMPLAINT
     Case 2:16-cv-06599-SJO-FFM Document 66 Filed 06/14/19 Page 6 of 27 Page ID #:790



 1     Windows.
 2           20.    For blind and visually-impaired users of Apple operating system-enabled
 3     computers and devices, the screen-reading software available, pre-installed, and built
 4     into all Apple products is VoiceOver. Apple’s devices, including the iPhone, have the
 5     VoiceOver program integrated into their iOS operating system for use by blind and
 6     visually-impaired users.
 7           21.    For screen-reading software to function, the information on a website
 8     must be capable of being rendered into text. If the website content is not capable of
 9     being rendered into text, the blind or visually-impaired user is unable to access the
10     same content available to sighted users using their keyboards because they are unable
11     to see the screen or manipulate a mouse.
12           22.    Screen-reading software is currently the only method a blind or visually-
13     impaired person may independently access the internet, websites, and other digital
14     content.
15           23.    If the website content is not capable of being rendered into text, the blind
16     or visually-impaired user is unable to access and navigate the same content on a
17     website or mobile app that is available to sighted users.
18           24.    There are well-established industry adopted guidelines for making
19     websites accessible to visually-impaired people who require screen-reading software
20     programs. These guidelines have existed for at least several years and are successfully
21     followed by large business entities who want to ensure their websites are accessible
22     to all persons. The Web Accessibility Initiative (“WAI”), an initiative of the World
23     Wide Web Consortium developed guidelines on website accessibility. Through
24     Section 508 of the Rehabilitation Act, the federal government also promulgated
25     website accessibility standards. These guidelines, easily found on the Internet,
26     recommend several basic components for making websites accessible, including, but
27     not limited to: adding invisible Alt-text to graphics; ensuring all functions can be
28     performed using a keyboard and not just a mouse; ensuring that image maps are
                                                   6
                                      FIRST AMENDED COMPLAINT
     Case 2:16-cv-06599-SJO-FFM Document 66 Filed 06/14/19 Page 7 of 27 Page ID #:791



 1     accessible; and adding headings so blind and visually-impaired people can navigate
 2     websites and mobile applications just as sighted people do. Without these basic
 3     components, websites and mobile applications are inaccessible to a blind person using
 4     screen-reading software.
 5           25.        Common barriers encountered by blind and visually-impaired persons
 6     include, but are not limited to, the following:
 7                 a.    A text equivalent for every non-text element is not provided;
 8                 b.    Title frames with text are not provided for identification and navigation;
 9                 c.    Equivalent text is not provided when using scripts;
10                 d.    Forms with the same information and functionality as for sighted
11                       persons are not provided;
12                 e.    Information about the meaning and structure of content is not conveyed
13                       by more than the visual presentation of content;
14                 f.    Text cannot be resized without assistive technology up to 200 percent
15                       without loss of content or functionality;
16                 g.    If the content enforces a time limit, the user is not able to extend, adjust
17                       or disable it;
18                 h.    Web pages do not have titles that describe the topic or purpose;
19                 i.    The purpose of each link cannot be determined from the link text alone
20                       or from the link text and its programmatically determined link context;
21                 j.    One or more keyboard operable user interface lacks a mode of operation
22                       where the keyboard focus indicator is discernible;
23                 k.    The default human language of each web page cannot be
24                       programmatically determined;
25                 l.    When a component receives focus, it may initiate a change in context;
26                 m. Changing the setting of a user interface component may automatically
27                       cause a change of context where the user has not been advised before
28                       using the component;
                                                       7
                                          FIRST AMENDED COMPLAINT
     Case 2:16-cv-06599-SJO-FFM Document 66 Filed 06/14/19 Page 8 of 27 Page ID #:792



 1                 n.    Labels or instructions are not provided when content requires user
 2                       input;
 3                 o.    In content which is implemented by using markup languages, elements
 4                       do not have complete start and end tags, elements are not nested
 5                       according to their specifications, elements may contain duplicate
 6                       attributes and/or any IDs are not unique;
 7                 p.    Inaccessible Portable Document Format (PDFs); and,
 8                 q.    The name and role of all User Interface elements cannot be
 9                       programmatically determined; items that can be set by the user cannot
10                       be programmatically set; and/or notification of changes to these items
11                       is not available to user agents, including screen-reading software.
12           26.        In California and the Ninth Circuit controlling law recognizes the
13     viability of Unruh and Americans with Disabilities Act (hereinafter “ADA”) claims
14     against commercial website and mobile application owners and operators with regard
15     to the accessibility of such websites and mobile applications. Robles v. Domino's
16     Pizza, LLC , 17-55504, 2019 WL 190134 (9th Cir. January 15, 2019) (Holding the
17     ADA and UCRA apply to websites and mobile applications, that imposing liability
18     under Title III of the ADA and Unruh Act would not violate Fourteenth Amendment
19     rights to due process, that the ADA is not impermissibly vague in this context, that
20     regulated parties have received fair notice of their obligations since 1996, that it was
21     error to invoke the doctrine of primary jurisdiction and finally that an order requiring
22     compliance with WCAG 2.0 is a possible equitable remedy); Long v. Live Nation
23     Worldwide, Inc., No. C16-1961 TSZ 2018 WL 3533338 (W.D. Wash. July 23, 2018)
24     (denying Defendant’s summary judgment motion based on voluntary cessation and
25     mootness and finding that defendant’s website is subject to the accessibility
26     regulations under the ADA as a matter of law); Carroll v. Fedfinancial Fed. Credit
27     Union, 2018 WL 3212023 (E.D. Va. June 25, 2018) (denying Defendant’s Motion to
28     Dismissed based on jurisdiction, Title III applicability, and due process arguments);
                                                     8
                                         FIRST AMENDED COMPLAINT
     Case 2:16-cv-06599-SJO-FFM Document 66 Filed 06/14/19 Page 9 of 27 Page ID #:793



 1     Haynes v. Hooters of Am., LLC, 17-13170, 2018 WL 3030840 (11th Cir. June 19,
 2     2018) (holding that a private settlement agreement does not moot a new web access
 3     claim by a different plaintiff); Gil v. SMG Holdings, No. 1:18-cv-20107 (S.D. Fl. May
 4     28, 2018) (denying a motion to dismiss and holding that mootness and voluntary
 5     cessation defenses did not apply when defendant claimed it was already in the process
 6     of correcting the barriers on its website); Thurston v. Midvale Corporation, et al., Los
 7     Angeles Superior Court, Case No. BC663214 (Judge Samantha P. Jessner) (May 17,
 8     2018) (granting plaintiff’s summary judgment motion finding “a plain reading of the
 9     statute, as well as the [DOJ’s] treatment of websites under the ADA, indicate that
10     Defendant’s website falls within the categories of ‘services, … privileges, advantages,
11     or accommodations of’ a restaurant, which is a place of public accommodation under
12     the ADA.”); Castillo v. Jo-Ann Stores, LLC, No. 5:17-cv-20110-KBB (N.D. Ohio
13     February 13, 2018) (denying motion to dismiss finding plaintiff has stated a
14     cognizable website ADA claim and has standing, plaintiff successfully alleged a nexus
15     between defendant's website and its brick and mortar stores, and the injunctive relief
16     sought does not violate due process rights); Gathers v. 1-800-FLOWERS.com, No.
17     1:17-cv-10273 (Mass. February 12, 2018) (denying a motion to dismiss sought against

18     ADA claims); Robles v. Yum! Brands, Inc. d/b/a Pizza Hut, No. 2:16-cv-08211-

19     ODW(SS) at *15. (C.D. Cal. Jan. 25, 2018) (Wright) (denying a motion for summary

20     judgment sought against ADA and California’s Unruh Civil Rights Act claims)

21     (“Pizza Hut cannot simply post a customer service phone number on its website and

22     claim that it is in compliance with the ADA unless it shows that a visually-impaired

23     customer ‘will not be excluded, denied services, segregated or otherwise treated

24     differently’ from non-visually impaired customers who are able to enjoy full access to

25     Pizza Hut’s website” [citations omitted]); Andrews v. Blick Art Materials, LLC, No.

26
       1:17-cv-00767-JBW-RLM (E.D.N.Y. Dec. 21, 2017) (Weinstein, J.) (Memorandum

27
       and Order approving settlement of website accessibility case in the form of judgment);

28
       Brooke v. A-Ventures, LLC, No. 2:17-cv-2868-HRH at 19. (A.Z. Nov. 22, 2017)
                                                   9
                                      FIRST AMENDED COMPLAINT
     Case 2:16-cv-06599-SJO-FFM Document 66 Filed 06/14/19 Page 10 of 27 Page ID #:794



 1     (granting declaratory judgment that defendant’s website did not comply with ADA;
 2     defendant enjoined to ensure equal access) (“[D]efendant was in violation of the
 3     Americans with Disability Act because its hotel reservations website did not afford
 4     disabled persons equal access to defendant’s public accommodation”); Rios v. New
 5     York & Company, Inc., No. 2:17-cv-04676-ODW (AGr) (C.D. Cal. Nov. 16, 2017)
 6     (Wright) (denying a motion for judgment on the pleadings sought against Unruh Act
 7     claims) (“[T]he Court finds that this case is not unique, ‘as federal courts have
 8     resolved effective communication claims under the ADA in a variety of contexts—
 9     including cases involving allegations of unequal access to goods, benefits, and
10     services provided through websites.’ Hobby Lobby, 2017 WL 2957736, at *7”);
11     Access Now, Inc. v. Blue Apron, LLC, No. 17-cv-116-JL at 21. (C.D. N.H. November
12     8, 2017) (denying a motion to dismiss sought against ADA claims) (“[Plaintiffs] rely
13     on Title III of the ADA as governing the defendant’s potential liability and invoke
14     compliance with the WCAG 2.0 AA standards as a sufficient condition, but not a
15     necessary condition, for such compliance, and therefore as a potential remedy.”);
16     Gorecki v. Dave & Buster’s, Inc., No. 2:17-cv-01138-PSG-AGR (C.D. Cal. October
17     10, 2017) (Gutierrez, P.) (denying a motion for summary judgment sought against

18     ADA and California’s Unruh Civil Rights Act claims) (“a finding of liability

19     regarding the Website’s compliance with the ADA does not require sophisticated

20     technical expertise beyond the ability of the Court”); Kayla Reed v. CVS Pharmacy,

21     Inc., Case No. 2:17-cv-03877-MWF-SK, at *9. (C.D. Cal. Oct. 3, 2017) (Fitzgerald)

22     (denying a motion to dismiss sought against ADA and California’s Unruh Civil Rights

23     Act claims) (“The DOJ’s position that the ADA applies to websites being clear, it is

24     no matter that the ADA and the DOJ fail to describe exactly how any given website

25     must be made accessible to people with visual impairments. Indeed, this is often the

26
       case with the ADA’s requirements, because the ADA and its implementing

27
       regulations are intended to give public accommodations maximum flexibility in

28
       meeting the statute’s requirements. This flexibility is a feature, not a bug, and certainly
                                                   10
                                       FIRST AMENDED COMPLAINT
     Case 2:16-cv-06599-SJO-FFM Document 66 Filed 06/14/19 Page 11 of 27 Page ID #:795



 1     not a violation of due process."); Andrews v. Blick Art Materials, LLC, -- F. Supp. 3d
 2     --, 2017 WL 3278898, at *12, *15-*18 (E.D.N.Y. Aug. 1, 2017) (Weinstein, J.);
 3     Gomez v. Lego Systems, Inc., Case 1:17-cv-21628-CMA (S.D. Fla. July 31, 2017)
 4     (denying a motion to dismiss an ADA claim alleging an inaccessible commercial
 5     website) [ECF #40]; Thurston v. Chino Commercial Bank, N.A., No. CV 17-01078
 6     BRO (JCx), 2017 WL 3224681, at *5 (C.D. Cal. July 27, 2017) (citing Gorecki);
 7     Markett v. Five Guys Enterprises LLC, No. 1:17-cv-00788-KBF, slip op. at 4-6 [ECF
 8     #33] (S.D.N.Y. July 21, 2017); Gorecki v. Hobby Lobby Stores, Inc., No. 2:17-cv-
 9     01131-JFW-SK, 2017 WL 2957736 (C.D. Cal. June 15, 2017) (Walter, J.) (denying a
10     motion to dismiss sought against ADA and California’s Unruh Civil Rights Act
11     claims) (“[T]his is a relatively straightforward claim that Hobby Lobby failed to
12     provide disabled individuals full and equal enjoyment of goods and services . . . by
13     not maintaining a fully accessible website. There is nothing unique about this case, as
14     federal courts have resolved effective communication claims under the ADA in a wide
15     variety of contexts-- including cases involving allegations of unequal access to goods,
16     benefits and services provided through websites.”); Gil v. Winn-Dixie Stores, Inc., No.
17     16-23020-Civ-Scola, -- F. Supp. 3d --, 2017 WL 2547242, at *7 (S.D. Fla. June 13,

18     2017) (finding that the defendant, a large supermarket chain, had violated the

19     plaintiff’s rights under the ADA by failing to maintain an accessible website after a

20     non-jury trial); Frazier v. Ameriserv Financial Bank, Nos. 2:16-cv-01898-AJS (Lead

21     Case), 17cv0031 [ECF #107], slip op. at 20 (W.D. Pa. Apr. 21, 2017) (denying a

22     motion to dismiss an ADA claim alleging an inaccessible commercial website);

23     Frazier v. Churchill Downs Inc., Nos. 2:16-cv-01898-AJS (Lead Case), 2:16-cv-0007

24     (Member Case) [ECF #107] slip op. at 20 (W.D. Pa. Apr. 21, 2017) (same);

25     OmahaSteaks.com, Inc. v. Access Now, Inc., et al., No. 8:17-cv-00060-LSC-CRZ

26
       [ECF #9-1] (D. Neb. Apr. 17, 2017) (consent decree); Access Now, Inc., et al. v.

27
       Omahasteaks.com, Inc., Nos. 2:16-cv-01898-AJS (Lead Case), 2:17-cv-00269-AJS

28
       (Member Case) [ECF #99] (W.D. Pa. Apr. 11, 2017 (same); Gil v. Winn-Dixie Stores,
                                                 11
                                      FIRST AMENDED COMPLAINT
     Case 2:16-cv-06599-SJO-FFM Document 66 Filed 06/14/19 Page 12 of 27 Page ID #:796



 1     Inc., -- F. Supp. 3d --, No. 16-23020-Civ-Scola, 2017 WL 2609330 (S.D. Fla. Mar.
 2     15, 2017) (denying a motion for judgment on the pleadings sought against an ADA
 3     claim alleging an inaccessible commercial website); Nat’l Ass’n of the Deaf v.
 4     Harvard Univ., Case 3:15-cv-30023-MGM, 2016 WL 3561622, at *12-*20 (D. Mass.
 5     Feb. 9, 2016) (Robertson, Mag. J.) (recommending the denial of a motion to dismiss
 6     or stay predicated on the primary jurisdiction doctrine), adopted in Nat’l Ass’n of the
 7     Deaf v. Harvard Univ., Case 3:15-cv-30023-MGM, 2016 WL 6540446, at *1-*3 (D.
 8     Mass. Nov. 3, 2016) (Mastroianni, J.); Nat’l Ass’n of the Deaf v. Massachusetts Inst.
 9     of Tech., Case 3:15- cv-30024-MGM, 2016 WL 3561631, at *1 (D. Mass. Feb. 9,
10     2016) (Robertson, Mag. J.) (recommending the denial of a motion to dismiss or stay
11     predicated on the primary jurisdiction doctrine), adopted in Nat’l Ass’n of the Deaf v.
12     Massachusetts Inst. of Tech., Case 3:15-cv-30024-MGM, 2016 WL 6652471, at *1
13     (D. Mass. Nov. 4, 2016) (Mastroianni, J.); Edward Davis v. Orlando Wilshire
14     Investments Ltd., et al., No. 5:15-cv-01738-MWF-KK, slip op. at 10 [ECF #17] (C.D.
15     Cal. Nov. 2, 2015) (Fitzgerald, J.) (denying motion to dismiss in a website
16     accessibility case) (“the Court concludes that the Complaint sufficiently alleges that
17     the inaccessibility of the Website impedes the full and equal enjoyment of the Hotel.”);

18     Sipe v. Huntington National Bank, 15-CV-1083, Doc No. 21 (W.D. Pa. Nov. 18, 2015)

19     (denying motion to dismiss based on claims the DOJ had not yet issued regulations

20     governing website accessibility); Nat’l Fed’n of the Blind v. Scribd, Inc., 98 F.

21     Supp.3d 565, 576 (D. Vt. 2015) (denying a motion to dismiss an ADA claim against

22     a commercial website operator); James Patrick Brown v. BPS Direct, LLC, et al., Case

23     No. LACV 14-04622 JAK (JEMx) slip op. at 4-7 [ECF #30] (C.D. Cal. Oct. 6, 2014)

24     (Krondstadt, J.) (denying the defendant’s motion to dismiss while relying on the

25     Target decision as “persuasive”, and holding “the Complaint does allege that Bass Pro

26
       Shops is a chain of brick-and-mortar stores and that BassPro.com is a website

27
       providing information about Bass Pro Shops products, offers, and locations…. [and

28
       that] a nexus could be established here through discovery.”); Penney v. Kohl’s Dep’t
                                                  12
                                      FIRST AMENDED COMPLAINT
     Case 2:16-cv-06599-SJO-FFM Document 66 Filed 06/14/19 Page 13 of 27 Page ID #:797



 1     Stores, Inc., et al., No. 8:14-cv-01100-CJC-DFM [ECF #12] slip op. at 3 (C.D. Cal.
 2     Sept. 23, 2014) (Carney, J.) (denying a motion to dismiss and stating, “Thus, the
 3     Complaint states plausible facts that establish the requisite nexus between the
 4     challenged service and the place of public accommodation.”); National Ass’n of the
 5     Deaf v. Netflix, Inc., 869 F. Supp. 2d 196, 200 (D. Mass. 2012) (excluding web-based
 6     services would “run afoul of the purposes of the ADA and would severely frustrate
 7     Congress’s intent that individuals with disabilities fully enjoy the goods, services,
 8     privileges, and advantages available indiscriminately to other members of the general
 9     public”); id. at 200-01 (“[T]he legislative history of the ADA makes clear that
10     Congress intended the ADA to adapt to changes in technology.”) (quoting H.R. Rep.
11     101-485(II), at 108 (1990)) (“[T]he Committee intends that the types of
12     accommodation and services provided to individuals with disabilities, under all of the
13     titles of this bill, should keep pace with the rapidly changing technology of the
14     times.”); Shields v. Walt Disney Parks and Resorts US, Inc., 279 F.R.D. 529, 559
15     (C.D. Cal. 2011) (rejecting as “unpersuasive” Disney’s argument that “there is no
16     accepted accessibility standard” and the argument that the DOJ has yet to determine
17     what standards to apply to websites and stating, “The lack of a widely accepted

18     standard for website accessibility does not preclude injunctive relief that would

19     improve access to Defendants’ websites by the visually-impaired.”); Nat’l Federation

20     of the Blind v. Target Corp., 452 F. Supp. 2d 946, 953 (N.D. Cal. 2006) (“To limit the

21     ADA to discrimination in the provision of services occurring on the premises of a

22     public accommodation would contradict the plain language of the statute.”); id. at 953-

23     54 (“consistent with the plain language of the statute, no court has held that under the

24     nexus theory a plaintiff has a cognizable claim only if the challenged service prevents

25     physical access to a public accommodation. Further, it is clear that the purpose of the

26
       statute is broader than mere physical access—seeking to bar actions or omissions

27
       which impair a disabled person’s “full enjoyment” of services or goods of a covered

28
       accommodation. 42 U.S.C. § 12182(a). Indeed, the statute expressly states that the
                                                  13
                                      FIRST AMENDED COMPLAINT
     Case 2:16-cv-06599-SJO-FFM Document 66 Filed 06/14/19 Page 14 of 27 Page ID #:798



 1     denial of equal “participation” or the provision of “separate benefit[s]” are actionable
 2     under Title III. See 42 U.S.C. § 12182(b)(1)(A).”); cf. Hindel v. Husted, No. 2017 WL
 3     432839, at *7 (S.D. Ohio Feb. 1, 2017) (granting a permanent injunction against the
 4     Ohio Secretary of State based on the accessibility of the state’s website under Title II
 5     of the ADA and requiring accessibility); Hindel v. Husted, No. 17-3207 (6th Cir., Nov.
 6     13, 2017) (defendant bears the burden of production and persuasion as to affirmative
 7     defenses such as fundamental alteration and subject matter of state election laws do
 8     not relieve defendant of these burdens); Davis v. BMI/BNB Travelware company No.
 9     CIVDS1504682 WL2935482 (Cal.Super. March 21, 2016) (granting motion for
10     summary judgment for plaintiff and ordering that defendant’s website be made
11     WCAG 2.0 compliant and awarding Unruh damages in favor of plaintiff).
12           27.     Each of Defendant’s violations of the ADA is likewise a violation of the
13     UCRA. Indeed, the UCRA provides that any violation of the ADA constitutes a
14     violation of the UCRA. Cal. Civ. Code § 51(f).
15                                 FACTUAL BACKGROUND
16           28.     Defendant offers its commercial Website and Mobile App to the public.
17           29.     The Website and Mobile App offer features which should allow all
18     consumers to access the good and services offered in connection with its brick-and-
19     mortar restaurants.
20           30.     The Website provides consumers with access to an array of goods,
21     services, and information related to Defendant’s brick-and-mortar locations which
22     include but are limited to, the following: menu item descriptions and sale information,
23     coupons and specials, rewards accounts, online ordering, and order tracking, as well
24     as access to various other goods, services, and privileges Defendant offers on the
25     Mobile App.
26           31.     Based on information and belief, it is Defendant's policy and practice to
27     deny Plaintiff, along with other blind or visually-impaired users, access to Defendant’s
28     Website and Mobile App, and to therefore specifically deny the goods and services
                                                  14
                                      FIRST AMENDED COMPLAINT
     Case 2:16-cv-06599-SJO-FFM Document 66 Filed 06/14/19 Page 15 of 27 Page ID #:799



 1     that are offered and integrated with Defendant’s brick-and-mortar locations and
 2     otherwise.
 3           32.        Due to Defendant's failure and refusal to remove access barriers to its
 4     Website and Mobile App, Plaintiff and visually-impaired persons have been and are
 5     still being denied equal access to Defendant’s brick-and-mortar locations and the
 6     numerous goods, services, privileges, and benefits offered to the public through
 7     Defendant’s Website and Mobile App.
 8           33.        Plaintiff cannot use a computer without the assistance of screen-reading
 9     software.
10           34.        However, Plaintiff is a proficient user of the JAWS screen-reader to
11     access the Internet.
12           35.        Plaintiff has visited Defendant’s Website on several separate occasions
13     using the JAWS screen-reader.
14           36.        While attempting to navigate the Website, Plaintiff encountered multiple
15     accessibility barriers for blind or visually-impaired people that include, but are not
16     limited to:
17                 a.    The home page has graphics, links, and buttons that are not labeled or
18                       are incorrectly labeled, or lack alternative text (“Alt-text”). Alt-text is
19                       invisible code embedded beneath a graphical image on a website. Web
20                       accessibility requires that Alt-text be coded with each picture so that
21                       screen-reading software can speak the Alt-text where a sighted user
22                       sees pictures. Alt-text does not change the visual presentation, but
23                       instead a text box shows when the cursor moves over the picture. The
24                       lack of Alt-text on these graphics prevents screen-readers from
25                       accurately vocalizing a description of the graphics.
26                 b.    There are multiple unlabeled or mislabeled buttons and links. Without
27                       descriptive alternate text, Plaintiff, and other screen-reader users, have
28                       no clue about the purpose or function of the button or link;
                                                      15
                                          FIRST AMENDED COMPLAINT
     Case 2:16-cv-06599-SJO-FFM Document 66 Filed 06/14/19 Page 16 of 27 Page ID #:800



 1              c.   There is an image carousel on the home page that cannot be paused by
 2                   screen-reading technology, which barred Plaintiff’s screen reader from
 3                   reading the changing content;
 4              d.   Plaintiff was unable to navigate past the “Choose Any 2 or More”
 5                   banner, preventing him from navigating elsewhere;
 6     The “Pizza” sub-link under the Menu heading contains an excessive amount of
 7     “Order” links. When navigating through each order link, blind and visually-impaired
 8     users are unable to use heading commands to associate which listed pizza option
 9     belonged to which “Order” link;
10              e.   On the “How Do You Want Your Domino’s?” link, blind users
11                   encounter excessive “Order Carryout” links that do not contain heading
12                   commands to determine which “Order Carryout” link belonged to
13                   which listed brick-and-mortar location. When the “More Info” link is
14                   activated listed for each location, screen readers do not read the
15                   expanded content;
16              f.   Error messages listed on the “Tracker” link are inaccessible to screen-
17                   readers;

18              g.   Plaintiff and other blind or visually-impaired users are unable to build

19                   their own pizzas because the crust, size, sauce, and topping options are

20                   inaccessible to screen-readers

21              h.   Plaintiff and other blind or visually-impaired users are unable to make

22                   an online order because of the additional following barriers.

23              i.   For example, while trying to order, screen readers read content on the

24                   main ordering page, which confuses users into thinking that the content

25                   is on the ordering system dialog box that pops out that must be used to

26
                     make an order.

27
                j.   The “Special Instructions “+” links to expand options listed throughout

28
                     the ordering system only read “plus”.
                                                 16
                                      FIRST AMENDED COMPLAINT
     Case 2:16-cv-06599-SJO-FFM Document 66 Filed 06/14/19 Page 17 of 27 Page ID #:801



 1              k.   The various selectable button options do not activate messages listed
 2                   on associated list boxes.
 3              l.   Order headings are inaccessible to screen readers.
 4              m. Button options cannot be accessed with arrow keys after a selection is
 5                   made.
 6              n.   List boxes that indicate quantity do not read in tandem with their
 7                   associated products.
 8              o.   Various button options containing associated list boxes are inaccessible
 9                   to screen-reading technology,
10              p.   Mislabeled and unlabeled links, buttons, and headings are on
11                   Defendant’s checkout system.
12              q.   The contents in the “Step 1: Confirm Your Selections” section is not
13                   accessible for screen-reading technology;
14              r.   Blind and visually-impaired users are unable to select a brick-and-
15                   mortar location because of the inaccessible structure on various pages
16                   of the Defendant’s Website.
17              s.   Blind users cannot tab out of the “Deals” banner, preventing them from

18                   tabbing anywhere else on the page.

19              t.   When users navigate to a radio button (e.g. “Delivery”, “Now”), screen

20                   readers do not say the heading that is associated with them (i.e. “Service

21                   Method” or “Order Timing”).

22              u.   Screen reader do not read dynamic error messages.

23              v.   When users select an item, screen readers do not say it’s added to the

24                   cart.

25              w. Screen reader do not say “Build Your Own Pizza” when users tab

26
                     through its options.

27
                x.   Although screen readers say “Quantity” for the list boxes, they do not

28
                     say the product item associated with each form field. This issue also
                                                 17
                                     FIRST AMENDED COMPLAINT
     Case 2:16-cv-06599-SJO-FFM Document 66 Filed 06/14/19 Page 18 of 27 Page ID #:802



 1                        applies to the “Edit” and “Remove” links.
 2                 y.     Screen readers cannot select a date from the dropdown calendar, and if
 3                        dropped down with a mouse, screen readers do not say the selection.
 4                 z.     When users activate the “Checkout” link, screen readers do not read the
 5                        “You Might Also Enjoy” dialog window.
 6                 aa. After screen reader users select a side, drink, or desert, screen readers
 7                        do not say a dialogue window appears. Users also cannot access any of
 8                        the controls on it.
 9                 bb. Radio buttons on all of the “Drinks” popup dialogs are unlabeled.
10                 cc. In the check-out section of the Website, the “Order Summary” data
11                        table is not coded correctly so screen reader users cannot associate
12                        column headers with the information.
13                 dd. In the check-out section of the Website, although the placeholder for
14                        the “Ext.” edit box acts as its name, screen readers cannot read it if users
15                        delete it.
16                 ee. When users activate the “?” links, screen readers do not say that a
17                        tooltip appears or read its contents.

18                 ff.    The “Pay at Store” radio button is coded as “Cash”. Screen readers also

19                        cannot read the note associated with the radio button.

20                 gg. The first options for the “Month” and “Year” list boxes act as temporary

21                        labels.      When users select other options, the form fields become

22                        unlabeled.

23                 hh. When users navigate to the “Confirm Password” edit box, screen

24                        readers do not say instructions below the edit field.

25                        Although “Piece of The Pie Rewards”, “Easy Order and Recent Order”,

26                        “Payment and Personal Info” are visual headings, they are not coded as

27                        such for users to navigate to them and associate them with content.

28           37.         In 2015, Plaintiff attempted to do business with Defendant on the
                                                       18
                                             FIRST AMENDED COMPLAINT
     Case 2:16-cv-06599-SJO-FFM Document 66 Filed 06/14/19 Page 19 of 27 Page ID #:803



 1     Website and due to the unlabeled buttons, lack of Alt-text, the structure of the headings
 2     and Website, cursor traps, and other barriers, Plaintiff was unable to fully and
 3     independently access the Website when visiting for the dual purpose of testing for
 4     compliance with the UCRA and ADA and ordering a customized pizza online for
 5     delivery from his preferred brick-and-mortar location.
 6           38.    Further, in the course of several separate attempts to utilize Defendant’s
 7     Mobile App, Plaintiff encountered multiple access barriers which denied Plaintiff full
 8     and equal access to the facilities, goods, and services offered to the public and made
 9     available to the public on Defendant's Mobile App.
10           39.    Plaintiff also cannot use a mobile device without assistance of screen-
11     reading software.
12           40.    In addition to using screen reader software to access websites on his
13     computer, Plaintiff is also a proficient Voice-Over user and regularly uses an iPhone
14     to access online content found on websites and mobile applications.
15           41.    Plaintiff attempted to use the Mobile App with an iPhone on several
16     separate occasions using its built-in Voice-Over screen reader.
17           42.    Since at least as early as 2015, and until the current date, Plaintiff
18     attempted to access Defendant’s Mobile App, sought additional information about
19     Defendant’s goods and services offered, and attempted to do business with Defendant
20     using Defendant’s iOS Mobile App.
21           43.    Plaintiff was unable to do business with Defendant contained on the
22     Mobile App and was unable browse Defendant’s offerings due to barriers to access
23     on the Mobile App that prevent its use by blind or visually impaired persons.
24           44.    While trying to navigate Defendants’ Mobile App, Plaintiff encountered

25     access barriers similar to those encountered on Defendants’ Website. The accessibility

26     barriers included, but were not limited to encountering a lack of Alt-text for images

27     and graphics, inaccessible forms, unlabeled or mislabeled buttons, inaccessible image

28     maps, and a lack of any adequate prompting and labeling. In addition to similar issues
                                                  19
                                      FIRST AMENDED COMPLAINT
     Case 2:16-cv-06599-SJO-FFM Document 66 Filed 06/14/19 Page 20 of 27 Page ID #:804



 1     of non-descriptive and uninformative link text, which made it impossible to
 2     effectively navigate, the Mobile App lacked adequate navigational headings.
 3     Headings are essential for screen reader users to easily understand the page structure
 4     and to navigate. Without headings, screen reader users are forced to painstakingly
 5     read the entire page from beginning to end, rather than jump between headings to
 6     streamline navigation.
 7           45.    While this case has been pending since September 2016, Plaintiff has
 8     visited the Website and the Mobile App on several more occasions to determine if
 9     Defendant has made any improvements to the accessibility of the Website or Mobile
10     App. On each occasion, up to the date of this First Amended Complaint in May 2019,
11     the same barriers to access still exist and Defendants have made no improvement in
12     the Website or Mobile App’s accessibility. Plaintiff has been and continues to be
13     denied from full and equal access to the facilities, goods, and services offered to the
14     public and made available to the public on the Website.
15           46.    Due to the widespread and continued access barriers that Plaintiff
16     encountered on the Website and Mobile App, Plaintiff has been deterred, on a regular
17     basis, from accessing the Website and Mobile App. The access barriers Plaintiff
18     encountered on the Website and Mobile App have further deterred Plaintiff from
19     visiting Defendant’s brick-and-mortar locations.
20           47.    If the Website and Mobile App were equally accessible to all, Plaintiff
21     could independently navigate the Website and Mobile App as sighted individuals do.
22           48.    Having attempted to use the Website and Mobile App, Plaintiff has actual

23     knowledge of the access barriers that make these services inaccessible and

24     independently unusable by blind and visually-impaired people.

25           49.    There are readily available, well established guidelines, available to

26     Defendant on the Internet, for designing, constructing, and maintaining websites to be

27     accessible to blind and visually-impaired persons. Other large business entities have

28     used these guidelines, or have otherwise been able, to make their websites accessible,
                                                  20
                                      FIRST AMENDED COMPLAINT
     Case 2:16-cv-06599-SJO-FFM Document 66 Filed 06/14/19 Page 21 of 27 Page ID #:805



 1     including but not limited to: adding Alt-text to graphics and ensuring that all functions
 2     can be performed using a keyboard. In addition, incorporating these basic changes and
 3     adding certain elements to Defendant’s Website and Mobile App would not
 4     fundamentally alter the nature of Defendant's business nor would it result in an undue
 5     burden to Defendant. Because maintaining and providing a website where all
 6     functions can be performed using a keyboard would provide full, independent and
 7     equal access to all consumers to the Website and Mobile App, Plaintiff alleges that
 8     Defendant has engaged in acts of discrimination, including but not limited to the
 9     following policies or practices:
10                  a.    Construction and maintenance of a website and a mobile app that are
11                        inaccessible to visually-impaired individuals, including Plaintiff;
12                  b.    Failure to construct and maintain a website and a mobile app that are
13                        sufficiently intuitive so as to be equally accessible to visually-impaired
14                        individuals, including Plaintiff; and,
15                  c.    Failure to take actions to correct these access barriers in the face of
16                        substantial harm and discrimination to blind and visually-impaired
17                        consumers, such as Plaintiff, as a member of a protected class.
18            50.        Although Defendant may currently have centralized policies for
19     maintenance and operation of the Website and Mobile App, Defendant lacks a plan
20     and policy reasonably calculated to make its website fully and equally accessible to,
21     and independently usable by, blind and other visually-impaired consumers, including
22     Plaintiff.
23            51.        Without injunctive relief, Plaintiff and other visually-impaired
24     consumers will continue to be unable to independently use Defendant's Website and
25     Mobile App in violation of their rights.
26     ///
27     ///
28     ///
                                                      21
                                          FIRST AMENDED COMPLAINT
     Case 2:16-cv-06599-SJO-FFM Document 66 Filed 06/14/19 Page 22 of 27 Page ID #:806



 1                                 FIRST CAUSE OF ACTION
 2      VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT OF 1990,
 3                         42 U.S.C. § 12181 et seq. [DOMINOS.COM]
 4                             (By Plaintiff Against All Defendants)
 5           42      Plaintiff re-alleges and incorporates by reference all paragraphs alleged
 6     above and each and every other paragraph in this First Amended Complaint necessary
 7     or helpful to state this cause of action as though fully set forth herein.
 8           43     Section 302(a) of Title III of the ADA, 42 U.S.C. § 12101 et seq.,
 9     provides:
10
             “No individual shall be discriminated against on the basis of disability
             in the full and equal enjoyment of the goods, services, facilities,
11           privileges, advantages, or accommodations of any place of public
12           accommodation by any person who owns, leases (or leases to), or
             operates a place of public accommodation.”
13
             42 U.S.C. § 12182(a).
14
             44     Domino’s pizzerias are public accommodations within the definition of
15
       Title III of the ADA, 42 U.S.C. § 12181(7). Dominos.com is a service, privilege, or
16
       advantage of Domino’s pizzerias. Dominos.com is a service that is integrated with
17
       these locations.
18
             45     Under Section 302(b)(1) of Title III of the ADA, it is unlawful
19
       discrimination to deny individuals with disabilities the opportunity to participate in or
20
       benefit from the goods, services, facilities, privileges, advantages, or accommodations
21
       of an entity. (42 U.S.C. § 12182(b)(1)(A)(i).)
22
             46     Under Section 302(b)(1) of Title III of the ADA, it is unlawful
23
       discrimination to deny individuals with disabilities an opportunity to participate in or
24
       benefit from the goods, services, facilities, privileges, advantages, or accommodation,
25
       which is equal to the opportunities afforded to other individuals. (42 U.S.C. §
26
       12182(b)(1)(A)(ii).)
27
             47     Under Section 302(b)(2) of Title III of the ADA, unlawful discrimination
28
                                                   22
                                       FIRST AMENDED COMPLAINT
     Case 2:16-cv-06599-SJO-FFM Document 66 Filed 06/14/19 Page 23 of 27 Page ID #:807



 1     also includes, among other things:
 2
              “[A] failure to make reasonable modifications in policies, practices, or
              procedures, when such modifications are necessary to afford such goods,
 3            services, facilities, privileges, advantages, or accommodations to
 4            individuals with disabilities, unless the entity can demonstrate that
              making such modifications would fundamentally alter the nature of such
 5            goods, services, facilities, privileges, advantages or accommodations;
 6            and a failure to take such steps as may be necessary to ensure that no
              individual with a disability is excluded, denied services, segregated or
 7            otherwise treated differently than other individuals because of the
 8            absence of auxiliary aids and services, unless the entity can demonstrate
              that taking such steps would fundamentally alter the nature of the good,
 9            service, facility, privilege, advantage, or accommodation being offered
10            or would result in an undue burden.”

11
             42 U.S.C. § 12182(b)(2)(A)(ii)-(iii).

12
             48     The acts alleged herein constitute violations of Title III of the ADA, and

13
       the regulations promulgated thereunder. Plaintiff, who is a member of a protected

14
       class of persons under the ADA, has a physical disability that substantially limits the

15
       major life activity of sight within the meaning of 42 U.S.C. §§ 12102(1)(A)-(2)(A).

16
       Furthermore, Plaintiff has been denied full and equal access to Dominos.com, has not

17
       been provided services which are provided to other patrons who are not disabled, and

18
       has been provided services that are inferior to the services provided to non-disabled

19
       persons. Defendant has failed to take any prompt and equitable steps to remedy its

20
       discriminatory conduct. These violations are ongoing.

21
             49     Pursuant to 42 U.S.C. § 12188 and the remedies, procedures, and rights

22
       set forth and incorporated therein, Plaintiff, requests relief as set forth below.

23
                                  SECOND CAUSE OF ACTION

24
        VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT OF 1990,

25
                      42 U.S.C. § 12181 et seq. [DOMINO’S MOBILE APP]

26
             50     Plaintiff re-alleges and incorporates by reference all paragraphs alleged

27
       above and each and every other paragraph in this First Amended Complaint necessary

28
       or helpful to state this cause of action as though fully set forth herein.
                                                   23
                                       FIRST AMENDED COMPLAINT
     Case 2:16-cv-06599-SJO-FFM Document 66 Filed 06/14/19 Page 24 of 27 Page ID #:808



 1           51     Domino’s Mobile App is a service, privilege, or advantage of Domino’s
 2     pizzerias. Domino’s Mobile App is a service that is integrated with these locations.
 3           52     The acts alleged herein constitute violations of Title III of the ADA, and
 4     the regulations promulgated thereunder. Plaintiff, who is a member of a protected
 5     class of persons under the ADA, has a physical disability that substantially limits the
 6     major life activity of sight within the meaning of 42 U.S.C. §§ 12102(1)(A)-(2)(A).
 7     Plaintiff has been denied full and equal access to Domino’s Mobile App, has not been
 8     provided services which are provided to other patrons who are not disabled, and has
 9     been provided services that are inferior to the services provided to non-disabled
10     persons. Defendant has failed to take any prompt and equitable steps to remedy its
11     discriminatory conduct. These violations are ongoing.
12           53     Pursuant to 42 U.S.C. § 12188 and the remedies, procedures, and rights
13     set forth and incorporated therein, Plaintiff, requests relief as set forth below.
14                                 THIRD CAUSE OF ACTION
15      VIOLATION OF THE UNRUH CIVIL RIGHTS ACT, CALIFORNIA CIVIL
16                             CODE § 51 et seq. [DOMINOS.COM]
17           54     Plaintiff re-alleges and incorporates by reference all paragraphs alleged
18     above and each and every other paragraph in this First Amended Complaint necessary
19     or helpful to state this cause of action as though fully set forth herein.
20           55     California Civil Code § 51 et seq. guarantees equal access for people with
21     disabilities to the accommodations, advantages, facilities, privileges, and services of
22     all business establishments of any kind whatsoever. Defendant is systematically
23     violating the UCRA, Civil Code § 51 et seq.
24           56     Defendant's pizzerias are "business establishments" within the meaning
25     of the Civil Code § 51 et seq. Defendant generates millions of dollars in revenue from
26     the sale of goods through its Dominos.com website. Defendant’s website is a service
27     provided by Defendant that is inaccessible to patrons who are blind or visually-
28     impaired like Plaintiff. This inaccessibility denies blind and visually-impaired patrons
                                                   24
                                       FIRST AMENDED COMPLAINT
     Case 2:16-cv-06599-SJO-FFM Document 66 Filed 06/14/19 Page 25 of 27 Page ID #:809



 1     full and equal access to the facilities, goods, and services that Defendant makes
 2     available to the non-disabled public. Defendant is violating the UCRA, Civil Code §
 3     51 et seq., by denying visually-impaired customers the goods and services provided
 4     on its website. These violations are ongoing.
 5           57     Defendant's actions constitute intentional discrimination against Plaintiff
 6     on the basis of a disability, in violation of the UCRA, Civil Code § 51 et seq., because
 7     Defendant has constructed a website that is inaccessible to Plaintiff, Defendant
 8     maintains the website in an inaccessible form, and Defendant has failed to take actions
 9     to correct these barriers.
10           58     Defendant is also violating the UCRA, Civil Code § 51 et seq. because
11     the conduct alleged herein violates various provisions of the ADA, 42 U.S.C. § 12101
12     et seq., as set forth above. Section 51(f) of the Civil Code provides that a violation of
13     the right of any individual under the ADA also constitutes a violation of the UCRA.
14           59     The actions of Defendants violate UCRA, Civil Code § 51 et seq., and
15     Plaintiff is therefore entitled to injunctive relief remedying the discrimination.
16           60     Plaintiff is entitled to statutory minimum damages pursuant to Civil Code
17     § 52 for each and every offense.
18           61     Plaintiff is also entitled to reasonable attorneys' fees and costs.
19                                  FOURTH CAUSE OF ACTION
20      VIOLATION OF THE UNRUH CIVIL RIGHTS ACT, CALIFORNIA CIVIL
21                        CODE § 51 et seq. [DOMINO’S MOBILE APP]
22           42     Plaintiff re-alleges and incorporates by reference all paragraphs alleged
23     above and each and every other paragraph in this First Amended Complaint necessary
24     or helpful to state this cause of action as though fully set forth herein.
25           43     Defendant generates millions of dollars in revenue from the sale of goods
26     through its Mobile App. Defendant’s Mobile App is a service provided by Defendant
27     that is inaccessible to patrons who are blind or visually-impaired like Plaintiff. This
28     inaccessibility denies blind and visually-impaired patrons full and equal access to the
                                                   25
                                       FIRST AMENDED COMPLAINT
     Case 2:16-cv-06599-SJO-FFM Document 66 Filed 06/14/19 Page 26 of 27 Page ID #:810



 1     facilities, goods, and services that Defendant makes available to the non-disabled
 2     public. Defendant is violating the UCRA, Civil Code § 51 et seq., by denying
 3     visually-impaired customers the goods and services provided on its Mobile App.
 4     These violations are ongoing.
 5           44     Defendant's actions constitute intentional discrimination against Plaintiff
 6     on the basis of a disability, in violation of the UCRA, Civil Code § 51 et seq., because
 7     Defendant has constructed a Mobile App that is inaccessible to Plaintiff, Defendant
 8     maintains the Mobile App an inaccessible form, and Defendant has failed to take
 9     actions to correct these barriers.
10           45     Defendant is also violating the UCRA, Civil Code § 51 et seq. because
11     the conduct alleged herein violates various provisions of the ADA, 42 U.S.C. § 12101
12     et seq., as set forth above. Section 51(f) of the Civil Code provides that a violation of
13     the right of any individual under the ADA also constitutes a violation of the UCRA.
14           46     The actions of Defendants violate UCRA, Civil Code § 51 et seq., and
15     Plaintiff is therefore entitled to injunctive relief remedying the discrimination.
16           47     Plaintiff is entitled to statutory minimum damages pursuant to Civil Code
17     § 52 for each and every offense.
18           48     Plaintiff is also entitled to reasonable attorneys' fees and costs.
19                                            PRAYER
20      WHEREFORE, Plaintiff prays for judgment against Defendant, as follows:
21           1.     A Declaratory Judgment that at the commencement of this action
22     Defendant was in violation of the specific requirements of Title III of the ADA 42
23     U.S.C. § 12181 et seq., and the relevant implementing regulations of the ADA, for
24     Defendant’s failure to take action that was reasonably calculated to ensure that its
25     websites and mobile applications are fully accessible to, and independently usable by,
26     blind and visually-impaired individuals;
27           2.     A preliminary and permanent injunction enjoining Defendant from
28     violating the ADA, 42 U.S.C. § 12181 et seq., and/or the UCRA, Civil Code § 51 et
                                                   26
                                       FIRST AMENDED COMPLAINT
     Case 2:16-cv-06599-SJO-FFM Document 66 Filed 06/14/19 Page 27 of 27 Page ID #:811



 1     seq. with respect to its website Dominos.com;
 2           3.     A preliminary and permanent injunction enjoining Defendant from
 3     violating the ADA, 42 U.S.C. § 12181 et seq., and/or the UCRA, Civil Code § 51 et
 4     seq. with respect to its Mobile Application;
 5           4.     A preliminary and permanent injunction requiring Defendant to take the
 6     steps necessary to make Dominos.com readily accessible to and usable by blind and
 7     visually-impaired individuals;
 8           5.     A preliminary and permanent injunction requiring Defendant to take the
 9     steps necessary to make Domino’s Mobile Application readily accessible to and
10     usable by blind and visually-impaired individuals;
11           6.     An award of statutory minimum damages of $4,000 per violation
12     pursuant to § 52(a) of the California Civil Code;
13           7.     For attorneys' fees and expenses pursuant to all applicable laws
14     including, without limitation, pursuant to 42 U.S.C. § 12188(a)(1), and California
15     Civil Code § 52(a);
16           8.     For pre-judgment interest to the extent permitted by law;
17           9.     For costs of suit; and
18           10.    For such other and further relief as this Court deems just and proper.
19                               DEMAND FOR JURY TRIAL
20           Plaintiff hereby respectfully requests a trial by jury on all appropriate issues
21     raised in this First Amended Complaint.
22     Dated: June 14, 2019              MANNING LAW, APC
23

24
                                         By: /s/ Joseph R. Manning Jr., Esq.
                                            Joseph R. Manning Jr., Esq.
25                                          Michael J. Manning, Esq.
26                                          Tristan P. Jankowski, Esq.
                                            Osman M. Taher, Esq.
27

28                                           Attorneys for Plaintiff
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                                        FIRST AMENDED COMPLAINT
